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 UNITED STATES OF AMERICA,                     Case No. 1:22-cv-329
       Plaintiff,                              STATE OF IDAHO’S ANSWER
 v.

 THE STATE OF IDAHO,

       Defendant,
 and

 SCOTT BEDKE, in his official capacity as
 Speaker of the House of Representatives of
 the State of Idaho; CHUCK WINDER, in
 his capacity as President Pro Tempore of
 the Idaho State Senate; and the SIXTY-
 SIXTH IDAHO LEGISLATURE,

       Intervenor-Defendants.

         Defendant State of Idaho hereby answers and responds to the Complaint filed on August

2, 2022 (Dkt. 1), as follows:



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                                 I.      GENERAL RESPONSE

       Unless specifically admitted herein, the State denies each and every allegation, claim, and

request for relief in the Complaint.

                                II.      SPECIFIC RESPONSES

       In response to the specific allegations, claims, and requests for relief contained in the

specific paragraphs in the Complaint, the State responds as follows: 1

A.     Preliminary Statement

       1.      Paragraph 1 contains a legal narrative and arguments that do not require a response.

To the extent that a response is required, Plaintiff appears to summarize the provisions of

Emergency Medical Treatment and Labor Act (EMTALA), 42 U.S.C. § 1395dd, which speak for

themselves.

       2.      Paragraph 2 contains a legal narrative and arguments that do not require a response.

Again, the provisions of EMTALA speak for themselves. The State lacks information to admit or

deny when or whether a medical provider would conclude that an abortion is necessary stabilizing

medical care as defined by EMTALA to treat an emergency medical condition as defined by

EMTALA. The State further lacks knowledge as to whether a medical provider would conclude

that an abortion could be necessary stabilizing medical care for any of the specific medical

conditions identified by Plaintiff in this paragraph.

       3.      Paragraph 3 contains a legal narrative and arguments that do not require a response.

To the extent a response is required, the provisions of Idaho Code § 18-622, including the

affirmative defenses, speak for themselves. The State admits only that Idaho Code § 18-622 took

effect on August 25, 2022, and that the State was enjoined by the preliminary injunction issued on

August 24, 2022, from enforcing Idaho Code § 18-622 in the circumstances outlined in the order,

issued as Document No. 95.



1
  The State utilizes the headings from the Complaint for ease of reference; such use does not
reflect the State’s concurrence in those headings.


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          4.        Paragraph 4 contains a legal narrative and arguments that do not require a response.

To the extent a response is required, the provisions of Idaho Code § 18-622, including the

affirmative defenses, speak for themselves. The State admits only that Idaho Code § 18-622 can

be enforced by criminal prosecution. The State lacks knowledge to admit or deny what decisions

medical providers might make in response to Idaho Code § 18-622.

          5.        Paragraph 5 contains a legal narrative and arguments that do not require a response.

To the extent a response is required, the cited provision of EMTALA speaks for itself. The State

lacks knowledge as to what decisions medical providers might make in response to Idaho Code §

18-622. The State denies that Idaho Code § 18-622 is in direct conflict with EMTALA. The State

further denies that Idaho Code § 18-622 is preempted by EMTALA under the Supremacy Clause

of the United States Constitution.

          6.        In response to Paragraph 6, the State denies that Plaintiff are entitled to the relief

sought. The State further denies that Idaho Code § 18-622 is invalid and denies that the statute

directly conflicts with and is preempted by EMTALA.

B.        Jurisdiction and Venue

          7.        In response to Paragraph 7, the State denies that this Court has jurisdiction over this

matter.
          8.        In response to Paragraphs 8 and 9, if and only if the Court has subject matter

jurisdiction in this case, which the State denies, the State admits that venue would be proper in this

district and division. The State denies that it has a legal residence. The State admits that the “seat

of government” is “at Boise City, in the county of Ada.” Idaho Code § 67-101. See also Idaho

Const. art. X, sec. 2.

C.        Parties

          9.        In response to Paragraph 10, the State admits.

          10.       In response to Paragraph 11, the State admits that it is a State of the United States.

As such, it is a distinct legal entity, and therefore the State denies that any of its officers,

employees, and agents, are parties to this action.


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D.      Supremacy of Federal Law

        11.     In response to paragraph 12, the State admits only that article IV, clause 2 of the

United States Constitution speaks for itself. This paragraph contains a legal narrative to which no

response is required.

        12.     In response to paragraph 13, the State admits only that the quoted cases speak for

themselves. This paragraph contains a legal narrative to which no response is required.

        13.     In response to paragraph 14, the State admits only that 42 U.S.C. § 1395, et seq.,

speaks for itself.

        14.     In response to paragraph 15, the State admits only that medical providers can

voluntarily choose to participate in Medicare. The provisions of 42 U.S.C. § 1395cc speak for

themselves.

        15.     In response to paragraphs 16 and 17, the State admits only that the provisions of 42

U.S.C. § 1395dd speak for themselves.

        16.     In response to paragraph 18, the State admits only that the provisions of 42 U.S.C.

§ 1395dd and 42 C.F.R. § 489.24(a) speak for themselves.

        17.     In response to paragraph 19, the State admits only that the provisions of 42 U.S.C.

§ 1395dd(e)(1) speak for themselves and that Congress enacted the provisions of EMTALA.
        18.     In response to paragraph 20, the State admits only that the quoted provisions of 42

U.S.C. § 1395dd and 42 C.F.R. § 489.24 speak for themselves.

        19.     In response to paragraph 21 and 22, the State admits only that the quoted provisions

of 42 U.S.C. § 1395 dd speak for themselves.

        20.     Paragraph 23 contains a legal narrative and argument to which no response is

required. To the extent a response is required, the provisions of EMTALA speak for themselves.

        21.     In response to paragraph 24, the State lacks knowledge as to what the necessary

stabilizing treatment is for the identified pregnancy-related emergency medical conditions, or

whether such conditions would be considered emergency medical conditions for a particular

pregnant woman. With regard to the identified guidance issued by the Centers for Medicare &


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Medicaid Services, the identified guidance speaks for itself. Such guidance was also enjoined by

a federal district court in Texas v. Becerra, No. 5:22-cv-185-H (N.D. Tex. Aug. 23, 2022), with

respect to Texas abortion laws. The State denies that EMTALA requires a hospital to provide an

abortion in violation of Idaho Code § 18-622. In response to footnote 1, the State lacks knowledge

as to the opinions of the unidentified medical experts. As to whether the termination of an ectopic

pregnancy is an abortion under Idaho Code § 18-604(1), the statute speaks for itself.

        22.     In response to paragraph 25, the State admits only that 42 U.S.C. § 1395dd(f)

speaks for itself.

E.      Idaho’s Abortion Law

        23.     In response to paragraph 26, the State admits only that Idaho Code § 18-622 was

enacted in 2020 and took effect on August 25, 2022, 30 days after the issuance of the judgment in

Dobbs v. Jackson Women’s Health Organization, 142 S. Ct. 2228 (2022). By way of further

answer, the State was enjoined by the preliminary injunction issued on August 24, 2022, from

enforcing Idaho Code § 18-622 in the circumstances outlined in the order, issued as Document No.

95. Idaho Code § 18-622(1) speaks for itself.

        24.     In response to paragraphs 27 and 28, the State admits only that Idaho Code § 18-

622 speaks for itself.
        25.     In response to paragraph 29, the State admits only that Idaho Code § 18-604(1)

speaks for itself.

        26.     Paragraph 30 contains legal argument and therefore requires no response. To the

extent a response is required, the State admits only that Idaho Code § 18-622 speaks for itself. The

State denies that the mere performance of an abortion would necessarily subject a provider to

criminal prosecution and require the provider to raise an affirmative defense at trial.

        27.     Paragraph 31 contains legal argument and therefore requires no response. To the

extent a response is required, the State admits only that Idaho Code § 18-622 speaks for itself and

that Idaho Code § 18-622’s exceptions are phrased as affirmative defenses. The State denies the

remainder of the allegations in the paragraph.


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        28.     In response to paragraph 32, the State admits only that Idaho Code § 18-622 speaks

for itself. The State denies that Idaho Code § 18-622 necessarily requires all accused physicians to

prove anything to a jury.

        29.     In response to paragraph 33, the State admits only that the affirmative defenses

contained in Idaho Code § 18-622 to prosecution and licensing discipline are stated at Idaho Code

§18-622(3). Idaho Code § 18-622(3) speaks for itself.

        30.     In response to paragraph 34, the State admits only that Idaho Code § 18-622(3)

speaks for itself.

F.      Idaho’s Abortion Law Conflicts With EMTALA
        31.     In response to paragraph 35, the State admits that, upon information and belief,

there are currently 51 hospitals in the State that have voluntarily chosen to enter into Medicare

provider agreements. The State further admits that, upon information and belief, 42 of those

hospitals have emergency departments as defined by EMTALA.

        32.     In response to paragraph 36, the State denies.

        33.     The allegations in paragraph 37 are legal argument and no response is required. To

the extent a response is required, the State admits only that Idaho Code § 18-622 and 42 U.S.C. §

1395dd speak for themselves . The State denies the remaining allegations in paragraph 37.

        34.     The allegations in paragraph 38 are legal argument and no response is required. To

the extent a response is required, the State lacks knowledge as to what physicians will do in

response to Idaho Code § 18-622. The State answers further that Idaho Code § 18-622, 42 U.S.C

§ 1395dd, and the quoted case referenced in this paragraph speak for themselves. The State denies

the remaining allegations.

G.      Idaho’s Abortion Law Causes Injury to Federal Interests

        35.     In response to paragraph 39, the State admits only that Idaho Code § 18-622 became

effective on August 25, 2022, and that the State was enjoined by the preliminary injunction issued

on August 24, 2022, from enforcing Idaho Code § 18-622 in the circumstances outlined in the

order, issued as Document No. 95.


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       36.     In response to paragraph 40, the State only admits that the Governor of Idaho

released the press release available at the web address contained in footnote 2 of the Complaint

following the release of the Supreme Court’s decision in Dobbs. The press release speaks for itself.

       37.     In response to paragraph 41, the State admits only that on Friday, July 29, 2022,

Brian M. Boynton, Principal Deputy Assistant Attorney General transmitted a letter via email to

Governor Brad Little and Attorney General Lawrence Wasden providing notice of the United

States’ intent to initiate litigation over Idaho Code § 18-622. The letter speaks for itself. The State

further admits that the United States filed suit four days later, on Tuesday, August 2, 2022 before

the State of Idaho could substantively respond to the letter.

       38.     In response to paragraph 42, the State admits only that Idaho Code § 18-622 became

effective on August 25, 2022, and that the State was enjoined by the preliminary injunction issued

on August 24, 2022, from enforcing Idaho Code § 18-622 in the circumstances outlined in the

order, issued as Document No. 95. Idaho Code § 18-622 speaks for itself. The State denies the

remaining allegations.

       39.     In response to paragraph 43, the State admits only that the cited case speaks for

itself. The State denies the remaining allegations.

       40.     The allegations in paragraph 44 are legal and factual argument and no response is
required. To the extent a response is required, the State denies the allegations.

       41.     The allegations in paragraph 45 are legal and factual argument and no response is

required. To the extent a response is required, the State lacks knowledge as to the posture in which

pregnant patients present at hospital emergency departments and the treatment or stabilizing

treatment that each patient requires. The State further lacks knowledge as to what decisions

physicians may make in response to Idaho Code § 18-622. The State therefore denies both

allegations. The State denies the remaining allegations in the paragraph.

       42.     The allegations in paragraph 46 are legal and factual argument and no response is

required. To the extent a response is required, the State admits only that Idaho Code § 18-622




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speaks for itself and that the exceptions contained in Idaho Code § 18-622 are phrased as

affirmative defenses. The State denies the remaining allegations.

       43.     With the exception of admitting only that 42 U.S.C. § 1395dd speaks for itself, the

State denies the allegations in paragraph 47.

       44.     With the exception of admitting only that 42 U.S.C. § 1395dd speaks for itself, the

State denies the allegations in paragraph 48.

       45.     In response to paragraph 49, the State lacks knowledge sufficient to admit or deny

the monies that HHS paid for emergency department care in Idaho hospitals enrolled in Medicare.

The State admits only that 42 U.S.C. § 1395cc speaks for itself. The State denies the remaining

allegations in paragraph 49.

       46.     The State denies the allegations in paragraph 50.

       47.     With the exception of stating that CMS Form 1561 speaks for itself, the State denies

the allegations in paragraph 51. Upon information and belief, the State admits that CMS Form

1561 is available at the web address stated in footnote 3.

       48.     In response to the allegations in paragraph 52, the State admits only that, upon

information and belief, there are currently 51 hospitals in the State that have voluntarily chosen to

enter into Medicare provider agreements. The State further admits that, upon information and
belief, 42 of those hospitals have emergency departments as defined by EMTALA. The State

denies the remaining allegations in this paragraph

       49.     In response to the allegations in paragraph 53, the State admits that it would not

automatically be a party to a federal enforcement action brought against a hospital in Idaho. The

State denies the remaining allegations.

       50.     In response to the allegations in paragraph 54, the State admits only that Idaho Code

§ 18-622 speaks for itself. The State lacks knowledge to admit or deny what a pregnant person

who arrives at an emergency department with an emergency condition would encounter, and

therefore denies that allegation. The State denies the remaining allegations.




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H.     Claim for Relief

       51.     In response to the allegations in paragraph 55, the State incorporates paragraphs 1

through 50 of its Answer as if fully set forth herein.

       52.     In response to paragraph 56, the State admits only that article IV, clause 2 of the

United States Constitution speaks for itself.

       53.     In response to paragraph 57, the State admits only that 42 U.S.C. § 1395dd(f)

speaks for itself. The State denies that Idaho Code § 18-622 violates the Supremacy Clause and is

preempted to the extent contrary to EMTALA. The State denies that Idaho Code § 18-622 is

contrary to EMTALA.

       54.     The State denies the allegations contained in paragraph 58.

       55.     The State denies the allegations contained in paragraph 59.

I.     Prayer for Relief

       56.     In response to Plaintiff’s prayer for relief, the State denies that the Plaintiff is

entitled to the relief requested in paragraphs (a) to (f) of the prayer for relief on page 16 of the

Complaint.

                              III.    AFFIRMATIVE DEFENSES
                                        FIRST DEFENSE

       The Complaint fails to state a claim upon which relief may be granted.

                                       SECOND DEFENSE

       The United States does not have standing to assert claims for relief in this matter.

                                        THIRD DEFENSE

       The State of Idaho is not a proper defendant to this suit.

                                       FOURTH DEFENSE

       EMTALA, as construed by the Plaintiff in this matter, is an unconstitutional enactment by

Congress.




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                                     FIFTH DEFENSE

       EMTALA, as construed by the Plaintiff in this matter, violates the Tenth Amendment of

the United States Constitution.

                                     SIXTH DEFENSE

       The United States does not have a cause of action on which to proceed and this action

cannot be heard in equity because Congress has enacted a comprehensive remedial scheme for

violations of EMTALA.

                                   SEVENTH DEFENSE

       EMTALA, as construed by the Plaintiff in this matter, violates the anti-commandeering

doctrine.

                                    EIGHTH DEFENSE

       There is no direct conflict between EMTALA and Idaho Code § 18-622 and therefore Idaho

Code § 18-622 does not violate the Supremacy Clause and is not preempted by EMTALA.

                                     NINTH DEFENSE

       There can be no direct conflict between EMTALA and Idaho Code § 18-622 because

EMTALA’s obligations are triggered by the voluntary choices of third parties to participate in

Medicare.
                                     TENTH DEFENSE

       EMTALA, as construed by the Plaintiff in this matter, is an impermissible coercive

spending scheme that exceeds the scope of the Spending Clause of the United States

Constitution.

       RESPECTFULLY SUBMITTED this 23rd day of September, 2022.

                                                  STATE OF IDAHO
                                                  OFFICE OF THE ATTORNEY GENERAL


                                            By:    /s/ Brian V. Church
                                                  BRIAN V. CHURCH
                                                  Deputy Attorney General


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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 23rd day of September, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
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                                               /s/ Brian V. Church
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